 Case 2:20-cv-05475-AB-PVC Document 14 Filed 09/25/20 Page 1 of 1 Page ID #:223



1
                                                                                     JS-6
2
3
4
5
6
7
8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    Donald Wayne Mosley,                       Case No. CV 20-05475 AB (FFMx)
11                    Plaintiff,
12    v.                                         ORDER DISMISSING CIVIL ACTION
13
      Ford Motor Company,
14
                      Defendant.
15
16
           THE COURT having been advised by counsel that the above-entitled action has
17
     been settled;
18
           IT IS THEREFORE ORDERED that this action is hereby dismissed without
19
     costs and without prejudice to the right, upon good cause shown within 30 days, to re-
20
     open the action if settlement is not consummated. This Court retains full jurisdiction
21
     over this action and this Order shall not prejudice any party to this action.
22
23
24   Dated: September 25, 2020        _______________________________________
                                      ANDRÉ BIROTTE JR.
25                                    UNITED STATES DISTRICT JUDGE
26
27
28
                                                1.
